      Case 1:17-cv-21519-CMA Document 4 Entered on FLSD Docket 04/24/2017 Page 1 of 2



AO 240 (Rev.07/10)ApplicationtoProceedinDi
                                         strictCoullWithoutPrepayfngFeesorCosts(Shortlsorm)

                                      NITED STATES D ISTRICT CO                               T
                                                              forthe
                                                   Southern DistrictofFlorida
                                                                                                     FILEDby FG D.c.
  ti?!Att-îR
          Plainz   (titionep
               ttFpe       rf
                            T
                            -fl                                     )
                                                                    )                                  APq 2# 2917
                 f              ,
                                       .
                                                                    )
                                                                    ) Ci
                                                                       vilActionNo.                   STEVENM LARIMORE
                                                                                                      CLERKUà DIsTcT.
                     De#ndant
                            /Respondent                             )                                  s.D.of/::.-MA I

        APPLICATION TO PROCEED IN DISTRICT CO URT W ITHOUT PREPAYING FEES OR COSTS
                                                             (ShortForm)
          lam a plaintifforpetitionerinthiscaseanddeclarethatlam unabletopay thecostsoftheseproceedingsand
 that1am entitled to thcreliefrequested.
          Insupportofthisapplication,Ianswerthefollowingquestionsunderpenaltyofperjury:

           1.Ifincarcerated.Iam beinghel
                                     indhe
                                       t ati
                                           :nstl  ion,1haveattachedtothtsdocumentastatementcertzed6ythe.
                                               ztut
 Ifempl
 appr oproye
          iatedit
                her
                ns  e,
                    utor
                  tit   ha
                      ionalve
                            offain acs
                                 cer countng a1lreceipts,expenditures,andbalancesduringthelastsix monthsforany
                                      howi
 institutionalaccountin my name. 1am also submitting a similarstatemenlfrom any otherinstitution whereIwas
 incarcerated during the lastsix months.
           2.Ifnotincarcerated.lfIam employed,myemployer'snameandaddressare:



  M     rosspay orwagesare: S                               ,and my take-homepay orwagesare: $                     per
      y:                                           --      -                                   ---             -

   (VeCXJ3.
         MFOt
           Peher
             N'
              OXIncome
                   (JX.4IF
                         Y'y' * .'
                         nthepast12months,Ihavereceived incomefrom the following sources(checkaIIthatapplvl3

         (a)Business,profession,orotherself-employment                         es             O No
         (b)Rentpayments,interest,ordividends                              (
                                                                           :1Yes              C1No
         (c)Pension,annuity,orlifeinsuranccpayments                        (
                                                                           7 Yes              O No
         (d)Disability,orworker'scompensationpayments                      :3 Yes             (
                                                                                              D No
         (e)Gifts,orinheritances                                           O Yes              C1No
         (9 Anyothersources                                                O Yes              C1No
              Ifyouanswered ''Yes''toanyquestionabove,describebelow oronseparatepageseachsourceofmoney tz/2#
  statetheamountthatyou received and whatyou expecttoreceive> :d uture.
                  ,                 (Al s:/p                       oa
                                                                                         u p)W .
          -
                afi                                            /s/J
                           @                # R0lk Ttùà:JP
     Case 1:17-cv-21519-CMA Document 4 Entered on FLSD Docket 04/24/2017 Page 2 of 2



AO 240 (Rev.07/10)ApplicationtoProceedi
                                      nDi
                                        strictCourtWithoutPrepayingFees(
                                                                       )rCoststshortFonnl

          4.Amountofmoney thatlhave incash orin a checking orsavingsaccount'
                                                                           .$                                       .

          5.Anyautomobile,realestate,stock,bond,security,trust,jewclry,artwork,orothersnancialinstrumentor
thing ofvaluethatlown,including any item ofvalue held in someoncelse'snamc (describetheJprgper/yanditsclwroxpua/e
value):




        6.Any housing,transportation,utilities,orloan paym ents,orotherregularmonthly expenses(describeandprovide
theamountofthemonthl
                   yexpense):
                     &       t/llp                        -
                rt       j                                  knlïn
            ,
                     <          J
                P              l                    k/
          7.Names(or,ifunder18,initialsonly)ofal1personswhoaredependenton m eforsupport,m y relationship
 with each person,andhow much lcontributetotheirsupport:

                ul>

           8.Any debtsorfinancialobligations(describetheamountsowpdandtow/kom theyarepayable):


                f:X ï;$TW        .              t/ Jhk .(ûûL*
                > @ !                        de          bAftv'y
                  ) aQt
          Y #6- 0 #   yoo &                          u â u oo
           Declaration: Ideclareunderpenalty ofperjurythattheaboveinformationistrueandunderstandthatafalse
 statementmayresultin adismissalofmy claims.


 Date:                4l                                                                    App       t' l nature

                                                                                                          jg (
                                                                                                  Printed name
